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1    SCOTT N. CAMERON
     Attorney at Law
2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     CUONG HOANG
5
6
7                          IN THE UNITED STATES DISTRICT COURT
8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )            CASE NO.   10-cr-00168 JAM
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )            WAIVER OF DEFENDANT CUONG HOANG’S
                                   )            PRESENCE
13   CUONG HOANG, et. al.          )
                                   )
14                  Defendants.    )
     ______________________________)
15
16          Defendant, CUONG HOANG, hereby waives the right to be present in
17   person    in   open   court   upon   the   hearing    of   any   motion   or   other
18   proceeding in this cause, including, but not limited to, when the case
19   is ordered set for trial, when a continuance is ordered, and when any
20   other action is taken by the court before or after hearing, except
21   upon   arraignment,      plea,   impanelment    of    jury   and   imposition     of
22   sentence.       Defendant, CUONG HOANG, hereby requests the court to
23   proceed during every absence of his which the court may permit
24   pursuant to this waiver; agrees that his interests will be deemed
25   represented at all times by the presence of his attorney, the same as
26   if defendant were personally present and further agrees to be present
27   in court ready for hearing any day and hour the court may fix in his
28   absence.

                                                1
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1         Defendant, CUONG HOANG, further acknowledges that he has been
2    informed of his rights under Title 18 U.S.C. §§ 3161-3171 (Speedy
3    Trial Act), and authorizes his attorney to set times and delays under
4    the Act without defendant, CUONG HOANG, being present.
5         The original signed copy of this waiver is being preserved by
6    CUONG HOANG’S attorney of record in this case.
7
8
     DATED: November 15, 2011
9                                      by     /s/ Cuong Hoang
                                              CUONG HOANG
10                                            Defendant
11
12
     DATED: November 15, 2011
13                                     by     /s/ Scott Cameron
                                              SCOTT N. CAMERON
14                                            Attorney for CUONG HOANG
15
          I     declare   that    I     am    a   court   certified   Cantonese-English
16
     interpreter/translator.           On November 15, 2011, I read the foregoing
17
     “Wavier     of   Defendant       Cuong   Hoang’s     Presence”   to   CUONG   HOANG,
18
     translating the document from English to Cantonese.
19
20
     Dated: November 15, 2011                         Richard Shek
21                                                    Interpreter/Translator
22
23
          IT IS SO ORDERED
24
25
26   Dated: 11/15/2011                        /s/ John A. Mendez
                                              HONORABLE JOHN A. MENDEZ
27                                            UNITED STATES DISTRICT COURT JUDGE
28

                                                  2
